                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        STATESVILLE DIVISION
                            5:06CV42-02-V
                           (5:03CR46-1-V)


AMANDA J. DURHAM,             )
                              )
     Petitioner,              )
                              )
          v.                  )               O R D E R
                              )
UNITED STATES OF AMERICA,     )
                              )
     Respondent.              )
______________________________)


     THIS MATTER is before this Court upon Petitioner’s Motion to

Vacate, Set Aside, or Correct Sentence under 28 U.S.C. §2255,

filed March 17, 2006 (document # 1); and on the Government’s

Motion to Dismiss, filed June 13, 2006 (document # 7).            For the

reasons stated herein, and for the further reasons stated in the

Government’s Motion to Dismiss, Petitioner’s Motion to Vacate

will be dismissed.

                 I.   FACTUAL AND PROCEDURAL BACKGROUND

     The underlying criminal record reflects that on October 21,

2003, Petitioner was arrested on a Complaint which charged her

with various violations of federal law.        (Case No. 5:03CR46-V,

document # 3).    On October 28, 2003, an original Bill of Indict-

ment was filed charging Petitioner and two other persons with one

count of engaging in a drug conspiracy involving powder cocaine,

cocaine base and methamphetamine, in violation of 21 U.S.C. §§



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841 and 846, with three counts of possessing those narcotics with

intent to distribute them and aiding and abetting those offenses,

in violation of 21 U.S.C. § 841 and 18 U.S.C. § 2, and with one

count of using and carrying a firearm during and in relation to

their drug trafficking crimes, in violation of 18 U.S.C. §§ 2.1

(Case No. 5:03CR46-V, document # 15).

      Also on October 28, 2003, the Government filed an Informa-

tion pursuant to 21 U.S.C. § 851.          Such Information asserted that

Petitioner previously had sustained a felony drug conviction,

thereby signifying that were she to be convicted of either of the

drug charges which she was facing, she would have been subject to

an enhanced sentence.         (Case No. 5:03CR46-V, document # 16).

      Although Petitioner initially was released on bond pending

the resolution of her charges, on January 9, 2004, the Probation

Office filed a Violation Report seeking the revocation of said

bond because Petitioner admittedly had used cocaine and had

absconded from supervision.         (See Case No. 5:03CR46-V, document

## 9 and 31, respectively).         During a hearing on those matters,

Petitioner did not oppose the Report; therefore, the Court revok-

ed her bond.    (Case No. 5:03CR45-V, document # 36: Order of

Detention).

      Thereafter, on July 2, 2004, Petitioner’s first attorney


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       Because Petitioner subsequently was charged in and pled guilty under a
Superceding Bill of Indictment, the details of her charges will be set forth
in connection with that second Indictment.

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moved to withdraw from her case on the ground that conflicts had

arisen between him and Petitioner leading him to believe that it

was in her best interest for him to withdraw.           (Case No. 5:03-

CR45-V, document # 49).      On July 12, 2004, the Court granted that

motion, and replacement counsel, R. Locke Bell, was appointed on

the following day. (Case No. 5:03-CR45-V, document ## 50 and 51).

     On August 3, 2004, Petitioner and replacement counsel filed

a Plea Agreement in which she agreed to plead guilty to the con-

spiracy and the firearm charges set forth in Counts One and Five.

(Case No. 5:03-CR45-V, document # 55).         Pursuant to that Agree-

ment, the parties’ acknowledged that Petitioner’s guilty pleas

exposed her to a statutory term of no less than 20 years up to

life imprisonment on the conspiracy charge, and to a consecutive

statutory minimum term of five years imprisonment on the firearm

charge.

     The Agreement also reflects the parties’ stipulations that

Petitioner could be held accountable for in excess of 500 grams

but less than 1.5 kilograms of methamphetamine; and that the

corresponding offense level for the drug charge was 32, exclusive

of any reductions for acceptance of responsibility under U.S.

Sentencing Guidelines § 3E1.1.      (Id.).     In addition, however, the

Agreement sets forth Petitioner’s acknowledgment that if the

Probation Officer determined that her criminal history warranted

career offender status or the application of the statutory man-


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datory minimum terms, that determination would control the cal-

culation of Petitioner’s sentence.      (Id.).

     The Agreement also contains Petitioner’s waiver of all

rights which she may have had pursuant to Apprendi v. New Jersey,

530 U.S. 466 (2000) and Blakely v. Washington, 542 U.S. 296

(2004); and it reflects her agreements to be sentenced under the

Guidelines, to have her sentence determined by the sentencing

judge, and to allow the judge to impose a sentence up to the

statutory maximum term, as supported by the facts, under a pre-

ponderance of the evidence standard.        (Id.).    Similarly, the

Agreement sets forth Petitioner’s waiver of her right to contest

her conviction and/or sentence on any grounds except ineffective

assistance of counsel; prosecutorial misconduct; or on the ground

that her sentence was based upon Guidelines findings which were

inconsistent with explicit stipulations set forth in that Agree-

ment.    (Id.).   Last, the Agreement contains Petitioner’s stipu-

lations that there were factual bases to support her guilty pleas

to Counts One and Five of the Indictment; and that the Court

could use the offense conduct set forth in her Pre-Sentence

Report to establish those factual bases.        (Id.).

     On August 24, 2004, a Superseding Bill of Indictment was

filed.    This second Indictment charges that Petitioner and her

two co-defendants conspired to possess with intent to distribute

five kilograms or more of cocaine powder, 50 grams or more of


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cocaine base, and 500 grams or more of a mixture of containing a

detectable amount of methamphetamine, in violation of 21 U.S.C. §

846 (Count One); that Petitioner and her co-defendants possessed

with intent to distribute unspecified quantities of cocaine pow-

der and a mixture of methamphetamine, and aided and abetted one

another in that offense, all in violation of 21 U.S.C. § 841 and

18 U.S.C. § 2 (Count Two); that the three possessed with intent

to distribute 50 grams of a mixture containing methamphetamine,

and aided and abetted one another in that offense, in violation

of 21 U.S.C. § 21 U.S.C. § 841 and 18 U.S.C. § 2 (Count Three);

that the three possessed with intent to distribute 500 grams of

mixtures containing a detectable amount of methamphetamine, and

aided and abetted one another in those offenses, in violation of

21 U.S.C. § 21 U.S.C. § 841 and 18 U.S.C. § 2 (Count Four); that

the three used and carried a firearm during and in relation to

their conspiracy offense, and aided and abetted one another in

that offense, in violation of 18 U.S.C. §§ 924(c) and 2 (Count

Five); and that one of the co-defendants, an illegal alien, un-

lawfully possessed a firearm after previously having been con-

victed of a felony, in violation of 18 U.S.C. § 922(g)(5)(A)

(Case No. 5:03CR46-V, document # 59).

     The Government also subsequently filed an amendment Informa-

tion pursuant to 21 U.S.C. § 851 modifying the original notice to

allege that Petitioner had sustained her felony drug conviction


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ten years earlier than was alleged in the original Information.

(Case No. 5:03CR46-V, document # 60).

     Also on August 24, 2004, Petitioner appeared before the

Court for a Plea and Rule 11 Hearing during which she entered her

guilty pleas to Counts One and Five from the original Bill of

Indictment.   However, out of an abundance of caution, on Septem-

ber 2, 2004, the Court conducted a second Plea and Rule 11

Hearing in order to accept Petitioner’s guilty pleas to Counts

One and Five as they were alleged in the Superseding Bill of

Indictment.

     On that occasion, the Court again placed Petitioner under

oath and engaged her in its standard, lengthy colloquy to ensure

that her guilty pleas were being intelligently and voluntarily

tendered.   At the outset of that proceeding, Petitioner reiterat-

ed that her mind was clear and she understood that she had come

to Court to enter guilty pleas to the conspiracy and firearm

charges; that she understood she was required to give truthful

answers to the Court’s questions; and that she wanted the Court

to accept her pleas.    (Plea Tr. 4-5).

     Again in response to the Court’s numerous questions, Peti-

tioner gave answers which established that she was not under the

influence of any alcohol, medicines or other drugs; that she had

received a copy of the Indictment and had reviewed it with her

attorney; that she fully understood the charges and their corre-


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sponding penalties; that she had taken enough time to discuss

possible defenses with counsel; and that she understood that she

had the right to plead “not guilty” and proceed to trial.              (Plea

Tr. 5-10, 16-17).    Additionally, Petitioner acknowledged her con-

sent to the terms of her Plea Agreement as they had been explain-

ed in Court, including the drug quantity and offense level stipu-

lations.   (Plea Tr. 10-14).     Petitioner also swore that she

understood the rights she was relinquishing by pleading guilty,

the appellate waiver from her Agreement, and how the Sentencing

Guidelines might be applied in her case.        (Plea Tr. 8, 15-16).

     Petitioner also swore that no one had threatened or coerced

her into pleading guilty, and no one had made her any promises of

leniency in order to induce her plea; that she was satisfied with

the services of her attorney and did not wish to make any comment

to the Court; that she fully understood her plea proceeding; and

that she was tendering a guilty plea because she, in fact, was

guilty of the subject charge.      (Plea Tr. 16-17).         Accordingly,

after reviewing Petitioner’s answers to its questions, the Court

determined that her guilty plea was knowingly and freely made,

and so the Court accepted that plea.        (Plea Tr. 18).       Thereafter,

Petitioner signed the Entry and Acceptance of Guilty Plea form,

thereby memorializing the foregoing oral representations.              (Case

No. 5:03CV46, document # 64).

     On October 20, 2004, the Court conducted an inquiry into the


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status of counsel proceeding due to a letter which Petitioner had

written complaining about her lack of communication with counsel

and an unrelated problem which she experienced with the county

jail at which she was housed.       During that proceeding, Petitioner

told the Court that counsel had not believed either her version

of the offense conduct or her psychological motivations for that

offense, and had failed to speak with persons whom she believed

could substantiate her story.       However, counsel explained that

Petitioner’s reported desire to have her co-defendants’s drug

deals discovered and punished essentially was irrelevant since

she admitted that she freely had engaged in the crimes.

     In response, the Court concurred with counsel’s position

that his obligation was to understand the facts and candidly to

explain how Petitioner’s version of the facts compared with the

Government’s evidence.       (Inq. to Cnsl. Tr. 7, filed December 22,

2005).    Thereafter, Petitioner agreed with the Court’s assessment

that she and counsel had “worked fairly well together and [had]

gotten a lot accomplished.”       (Inq. to Cnsl. Tr. 11).        Ultimately,

defense counsel told the Court that he was willing to contact the

persons who Petitioner identified, Petitioner indicated that she

would listen to counsel’s advice, and so the Court determined

that the two could continue to work together on Petitioner’s

case.    (Inq. to Cnsl. Tr. 13).

     On February 7, 2005, the Government filed a Motion for a


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Downward Departure pursuant to both Sentencing Guidelines § 5K1.1

and 18 U.S.C. § 3553(e).     (Case 5:03CR46, document # 78).           Such

Motion reports that Petitioner’s guilty pleas exposed her to sta-

tutory mandatory minimum terms of 240 months on the conspiracy

conviction and 60 months consecutive on the firearm conviction,

nevertheless, she had earned a downward departure motion by pro-

viding substantial assistance to the Government.             (Id.).   Thus,

the Motion asked the Court to depart downward and sentence Peti-

tioner to 120 months on Count One and 24 months on Count Five.

(Id.)

     On February 7, 2005, the Court held Petitioner’s Factual

Basis and Sentencing Hearing.      At the outset of that Hearing,

Petitioner reaffirmed the sworn answers which she had given dur-

ing her Plea and Rule 11 Proceeding, namely that she understood

the nature of the charges to which she had pled guilty along with

their penalties; that she, in fact, was guilty of the subject

charges; and that she had freely and voluntarily entered her

guilty pleas.   (Sent’g. Tr. 2-3).

     Equally critically, when asked whether she believed she

suitably had been represented by counsel, Petitioner indicated

that although they had experienced “problems” she conceded that

she was guilty; and she had no questions about the suitability of

his representation.    (Sent’g. Tr. 2-3).      Consequently, the Court

unconditionally accepted Petitioner’s guilty pleas, found there


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was a factual basis to support her pleas, and adjudged her

guilty. (Sent’g. Tr. 3).

     Next, Petitioner clarified that an arrest warrant which was

listed in her Pre-Sentence Report actually had been served upon

her; and that the State of North Carolina had chosen to dismiss

the charge.   Thereafter, the Court adopted the calculations in

the Pre-Sentence Report and concluded that Petitioner’s Total

Offense Level was 29, her Criminal History Category was I, and

the 87-108-month Guidelines term on the conspiracy conviction was

overridden by the statutory mandatory minimum term of 240 months

on Count One plus 60 months, consecutive on Count Five.            (Sent’g.

Tr. 7).

     The Court next entertained the Government’s Downward Depar-

ture Motion for a total sentence of 144 months based upon her

assistance with its prosecution of her co-defendants.            (Sent’g.

Tr. 8-9).    In response, however, defense counsel requested a

greater departure down to a 60-month sentence on Count One and a

24-month sentence on Count Five on the grounds that Petitioner

also had assisted the State of North Carolina and the District of

South Carolina in their prosecutions of unrelated cases. (Sent’g.

Tr. 9-11).    Counsel and Petitioner also gave the Court background

information concerning her previous experiences in the Witness

Protection Program, how she reportedly had become involved with

the instant offense in order to cause her co-defendants to be


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exposed and apprehended by authorities, and how she had begun

cooperating immediately upon her arrest.         (Sent’g. Tr. 12-18).

     Although counsel for the Government clarified that Peti-

tioner was heavily involved in the conspiracy’s distribution of

drugs and even had traded drugs for a gun, the Court departed

below the requested 144-month term down to the 84-month sentence

for which defense counsel had argued, thereby imposing a sentence

which was comparable to Petitioner’s Guidelines sentencing.

(Sent’g Tr. 19).   The Court’s Judgment was filed on March 17,

2005. (Case No. 5:03CR46, document # 79).

     Petitioner did not directly appeal her convictions or sen-

tences.   Instead, on March 17, 2006, Petitioner filed the instant

Motion to Vacate arguing that her former attorney was ineffective

because he: (1) failed to investigate three alibi witnesses and

present their statements in support of her version of the facts;

(2) failed to have her character witnesses present “for Judge

Voorhees to review”; (3)failed to investigate and present her

medical health records for the Court’s review; (4) failed to in-

vestigate and present statements from Floyd Nickles, a “hostile

witness”; (5) failed to “listen to [her] version of the truth”;

(6) failed to “request time for a proper investigation of issues

that [Petitioner] wanted him to bring to the Judge’s attention at

sentencing [and] failed to show [her] Exhibit 5"; (7) lacked

“devotion to [her] case”; (8) failed to appear at the trial of


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her co-defendant or to secure a copy of the transcript of her

testimony in that proceeding so that he could have given the

Court more details about her cooperation, and did not report the

full extent of that cooperation in any event; (9) failed to get

statements from two of the investigating agents who were familiar

with her cooperation in the instant case; (10) failed to secure a

continuance for her case; (11) gave an “inaccurate summation at

sentencing . . . due to his ineffectiveness and disbelief of the

events as to how they actually occurred between [Petitioner] and

[her] co-defendant”; (12) twice deceived the Court by taking

credit for matters which he had not accomplished; (13) failed to

review tape-recorded evidence which would have proven that she

was aware that she was selling drugs to an informant; (14) failed

to notify the Court and denied that they were having difficulties

in their interactions; (15) ignored her request that he do his

best to secure a five-year sentence for her; and (16) failed to

advise the Court of the full extent of her abuse, how she was

extremely afraid of guns, and how she prevented police from being

shot by her co-defendant.

     On June 13, 2006, the Government responded with a Motion to

Dismiss Petitioner’s Motion to Vacate asserting that Petitioner

had failed to sign her Motion under penalty of perjury as requir-

ed by Rule 2 of the Rules Governing Section 2255 Proceedings.

The Government’s Motion also asserts, in any event, that


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Petitioner’s claims of ineffective assistance of counsel are

factually and/or legally baseless.

     For its own part, the Court carefully has reviewed the

pleadings and the record underlying those Motions.           Based upon

that review, the Court has determined that Petitioner is not

entitled to any relief on her allegations against her former

counsel.

                             II.   ANALYSIS

           Petitioner’s allegations of ineffective-
           ness are defeated by her failure to show,
           or even to suggest that, but for the alleged
           ineffectiveness, she would have proceeded to
           trial on the charges she was facing.

     With respect to claims of ineffective assistance of counsel,

a petitioner must show that counsel's performance was constitu-

tionally deficient to the extent it fell below an objective

standard of reasonableness, and that he was prejudiced thereby.

Strickland v. Washington, 466 U.S. 668, 687-91 (1984).            In making

this determination, there is a strong presumption that counsel's

conduct was within the wide range of reasonable professional as-

sistance. Id. at 689; see also Fields v. Attorney Gen. of Md.,

956 F.2d 1290, 1297-99 (4th Cir. 1985); Hutchins v. Garrison, 724

F.2d 1425, 1430-31 (4th Cir. 1983); and Marzullo v. Maryland, 561

F.2d 540 (4th Cir. 1977).     Under these circumstances, the peti-

tioner “bears the burden of proving Strickland prejudice.”

Fields, 956 F.2d at 1297, citing Hutchins, 724 F.2d at 1430-31.


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     More critically, inasmuch as this Petitioner has alleged in-

effective assistance of counsel following the entry of her guilty

pleas, she has a more focused burden to meet.         See Hill v. Lock-

hart, 474 U.S. at 53-59; Fields, 956 F.2d at 1294-99; and Hooper

v. Garraghty, 845 F.2d 471, 475 (4th Cir. 1988).            The Fourth

Circuit described the petitioner’s burden in a post-guilty plea

claim of ineffective assistance of counsel as follows:

          When a [petitioner] challenges a conviction
          entered after a guilty plea, [the] “prejudice
          prong of the [Strickland] test is slightly
          modified. Such a defendant must show that
          there is a reasonable probability that, but
          for counsel’s errors, he would not have
          pleaded guilty and would have insisted on
          going to trial.”

Hooper, 845 F.2d at 475 (emphasis added); accord Hill v. Lock-

hart, 474 U.S. at 59-60; and Fields, 956 F.2d at 1297.            Critical-

ly, however, if a petitioner fails to meet her burden of demon-

strating prejudice, a “reviewing court need not consider the

performance prong.”    Fields, 956 F.2d at 1290, citing Strickland,

466 U.S. at 697, citing Strickland, 466 U.S. at 697.

     The “central inquiry,” then, is whether, but for counsel’s

alleged errors, Petitioner would have insisted on a trial.             Sla-

vek v. Kinkle, 359 F.Supp.2d 473, 491 (E.D. Va. 2005) (summarily

rejecting claims of ineffectiveness on prejudice prong based on

petitioner’s failure and inability to argue that but for the

alleged errors, he would have insisted on a trial or entered a

different guilty plea).     Courts have stated that this inquiry is

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an “objective one” based on whether going to trial might “reason-

ably have resulted in a different outcome.”         Martin v. United

States, 395 F. Supp. 2d 326, 329 (D. S.C. 2005).            See also Beck

v. Angelone, 261 F.3d 377, 396 (4th Cir. 2001) (finding that in

light of overwhelming evidence of guilt and lack of available

defenses, petitioner could not establish prejudice under the

modified “reasonable probability” standard); and Burkett v.

Angelone, 208 F.3d 172, 190-91 (4th Cir. 2000) (same).

     In the present case, Petitioner’s Motion to Vacate did not

even bother to assert that, but for counsel’s alleged ineffec-

tiveness, she would have insisted upon pleading “not guilty” and

going to trial.   In fact, the Government’s Motion to Dismiss

expressly pointed out Petitioner’s omission of this critical

assertion and the resulting consequences, yet Petitioner still

did not bother to make this assertion in her Response to the

Government’s Motion to Dismiss.      As such, Petitioner’s Motion to

Vacate is doomed by this omission, notwithstanding any of the

Motion’s other problems.

     Turning to those other problems, even if the Court were to

overlook this omission, Petitioner cannot objectively establish

that there is a reasonable probability that she would have ob-

tained better results had she proceeded to trial.           To be sure, it

has not escaped the Court’s attention that in addition to the

charges to which Petitioner pled guilty, she was facing three


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other drug trafficking charges, two of which exposed her to 20-

year statutory mandatory minimum terms.        Inasmuch as Petitioner

has not denied her guilt for any of the offenses with which she

was charged, the Court concludes that had she proceeded to trial

on them, she would have been convicted of all of the charges.

Moreover, those five convictions would have exposed Petitioner to

a higher offense level under the grouping provisions set forth in

Chapter 3 of the Sentencing Guidelines.        Under those circumstanc-

es, then, Petitioner would not have had a chance at receiving the

84-month sentence which ultimately was imposed.

     Second, even if the Court were to limit its consideration to

Counts One and Five, had Petitioner gone to trial and sustained

convictions for those matters, she would have been precluded from

receiving either the three-level reduction for acceptance of

responsibility or the reduction for substantial assistance.             In

that case, Petitioner simply would have received the 300-month

sentence as required under the law. Obviously, there is no

comparison between that 300-month term and the 84-month sentence

which Petitioner actually received.

     Third, even if Petitioner had pled guilty pursuant to her

Plea Agreement but counsel had not vigorously contested the

Government’s requested departure, she still would have received

the significantly higher 144-month sentence.         That is, Petition-

er’s cooperation prompted the Government to request the 144-month


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term for Petitioner.    However, defense counsel convinced the

Court to reduce that term by 60 months more than the Government

had requested.   Thus, counsel’s assistance cannot be deemed

deficient in any case.

     Last, the record of this matter reflects that Petitioner was

permitted to speak at length about her involvement in the subject

offenses and the factors which led to her apprehension.            Ironi-

cally, however, Petitioner now fails to offer any material infor-

mation which could have added to the matters which she and

counsel already had revealed during her Inquiry into Status of

Counsel Hearing and her Sentencing Hearing.         On the other hand,

the offense conduct described in Petitioner’s Pre-Sentence Report

-- to which she does not object -- indicates that she participa-

ted in multiple transactions involving hundreds of grams of

methamphetamine and more than 100 grams of cocaine.           Thus, in

light of those matters, this Court is well satisfied that Peti-

tioner simply could not have presented any additional information

to support more than the 216-month reduction which she received.

In short, Petitioner’s assertion that counsel somehow could have

presented enough information that this Court would have allowed

her to “walk[] out of the courtroom with [her] family and return

[] home where [she] belong[s]” simply is fantastic and entirely

erroneous.   Therefore, pursuant to the relevant legal princi-

ples, Petitioner cannot demonstrate an entitlement to relief on


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any of her allegations against her former attorney.

                            III.   CONCLUSION

     Petitioner has failed to establish an entitlement to relief

on her allegations that her former attorney rendered ineffective

assistance of counsel.      Therefore, the Government’s Motion to

Dismiss should be granted and her Motion to Vacate should be

dismissed.

                                V. ORDER

     NOW, THEREFORE, IT IS HEREBY ORDERED:

     1.   That the Government’s Motion to Dismiss (document # 7)

is GRANTED; and

     2.   That Petitioner’s Motion to Vacate is DISMISSED.

     SO ORDERED.



                                         Signed: February 6, 2009




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